                   Case: 1:21-cv-03466 Document #: 10 Filed: 07/14/21 Page 1 of 2 PageID #:45
AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF ILLINOIS



                                                                           SUMMONS IN A CIVIL CASE
Stacy Deemar

                                                                 CASE NUMBER:       1:21-cv-3466
                                V.                               ASSIGNED JUDGE:
                                                                                    Robert Dow
 Board of Education of the City of                               DESIGNATED
 Evanston/Skokie, et al.                                         MAGISTRATE JUDGE: Jeffrey Gilbert


                    TO: (Name and address of Defendant)
       Stacy Beardsley
       Assistant Superintendent, Evanston/Skokie School District 65
       1500 McDaniel Avenue
       Evanston, IL 60201


          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

                 Kimberly S. Hermann
                 Southeastern Legal Foundation
                 560 West Crossville Rd. Suite 104
                 Roswell, GA 30075


                                                                               21
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




     THOMAS G. BRUTON, CLERK

                                                                                      June 30, 2021

     (By) DEPUTY CLERK                                                                DATE
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